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Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 3 of 30 PAGEID #: 2527
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 4 of 30 PAGEID #: 2528
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 5 of 30 PAGEID #: 2529
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 6 of 30 PAGEID #: 2530
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 7 of 30 PAGEID #: 2531
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 8 of 30 PAGEID #: 2532
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 9 of 30 PAGEID #: 2533
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 10 of 30 PAGEID #: 2534
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 11 of 30 PAGEID #: 2535
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 12 of 30 PAGEID #: 2536
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 13 of 30 PAGEID #: 2537
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 14 of 30 PAGEID #: 2538
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 15 of 30 PAGEID #: 2539
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 16 of 30 PAGEID #: 2540
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 17 of 30 PAGEID #: 2541
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 18 of 30 PAGEID #: 2542
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Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 21 of 30 PAGEID #: 2545
Case: 2:05-cv-00819-EAS-TPK Doc #: 107 Filed: 08/09/07 Page: 22 of 30 PAGEID #: 2546
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